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                                   EXHIBIT A

                         Copy of State Court Docket Sheet
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                                                       261st District Court

                                                       Case Summary
                                                   Case No. D-1-GN-18-001835


HESLIN V JONES                                                  §              Location: 261st District Court
                                                                §              Filed on: 04/16/2018



                                                       Case Information

                                                                                 Case Type: Defamation
                                                                                Case Status: 11/06/2019 Open

                                                   Assignment Information

             Current Case Assignment
             Case Number D-1-GN-18-001835
             Court         261st District Court
             Date Assigned 04/16/2018



                                                      Party Information

Defendant FREE SPEECH SYSTEMS LLC REYNAL, FEDERICO ANDINO
                                  Retained

              INFOWARS LLC                        REYNAL, FEDERICO ANDINO
                                                  Retained

              JONES, ALEX E                       REYNAL, FEDERICO ANDINO
                                                  Retained

              SHROYER, OWEN                       MAGLIOLO, JOSEPH C Jr.
                                                  Retained



                                                         Case Events

04/16/2018     ASM:GN CIVIL PETITION
                 Event Code: 600 Adjmt Amount: 307.00
04/16/2018
               ORIGINAL PETITION/APPLICATION
                 PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOUSRE Event Code: 5050
04/16/2018     NEW:ORIGINAL PETITION/APPL (OCA)
                 Event Code: 4500
04/23/2018
               LETTER/EMAIL/CORR
                 LETTER REQUESTING ISSUANCE (CITATION) Event Code: 5414
04/27/2018     ASM:CITATION ISSUE
                 Event Code: 702 Adjmt Amount: 32.00
06/18/2018
               ANSWER
                 DEFENDANTS' ORIGINAL ANSWER Event Code: 5150
                 Party: Defendant JONES, ALEX E
06/27/2018
               LETTER/EMAIL/CORR
                 VACATION LETTER Event Code: 5414

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                                          Case No. D-1-GN-18-001835
06/28/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
06/29/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
               Party: Defendant JONES, ALEX E
06/29/2018
             NTC:ATTORNEY/COUNSEL
               SUBSTITUTION OF COUNSEL Event Code: 5550
               Party: Defendant JONES, ALEX E
07/13/2018
             AMENDED/SUPPLEMENTED ANSWER
               DEFENDANTS' FIRST AMENDED ANSWER Event Code: 5152
               Party: Defendant JONES, ALEX E
07/13/2018
             MOTION
              DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTI CIPATION ACT Event Code: 5265
              Party: Defendant JONES, ALEX E
07/19/2018
             NOTICE
               NOTICE OF HEARING Event Code: 5554
               Party: Defendant JONES, ALEX E
07/23/2018
             LETTER/EMAIL/CORR
               LETTER FROM: MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
08/10/2018
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT BY PRESIDING JUDGE Event Code: 5423
08/16/2018
             LETTER/EMAIL/CORR
               LETTER FROM SCOTT H JENKINS JUDGE 53RD DISTRICT COURT TRAVIS COUNTY, TEXAS Event Code: 5414
08/17/2018
             MOTION
              PLAINTIFF'S MOTION FOR SANCTIONS FOR INTENTIONAL DESTRUCTION OF EVIDENCE Event Code: 5265
08/17/2018

MOTION
 PLAINTIFF'S MOTION FOR EXPEDITED DISCOVERY IN AID OF PLAINTI FF'S RESPONSE TO DEFENDANTS' TCPA MOTION
 Event Code: 5265
08/21/2018
             LETTER/EMAIL/CORR
               LETTER FROM MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
08/23/2018

RESPONSE
  DEFENDANTS' RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR EXPEDITED DISCOVERY Event
  Code: 5153
  Party: Defendant JONES, ALEX E
08/27/2018

RESPONSE
  PLAINTIFF'S RESPONSE TO DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
  Code: 5153
08/27/2018

AFFIDAVIT
                                                    PAGE 2 OF 17                  Printed on 04/18/2022 at 9:50 AM
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                                          District Court

                                                Case Summary
                                       Case No. D-1-GN-18-001835
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' MOTION TO D ISMISS UNDER THE TEXAS CITIZEN
  PARTICIPATION ACT Event Code: 5401
  Party: Defendant JONES, ALEX E
08/27/2018

AMENDED/SUPPLEMENTED ANSWER
  DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR EXPEDITED
  DISCOVERY AND DEFENDANTS ' MOTION FOR SANCTIONS Event Code: 5152
  Party: Defendant JONES, ALEX E
08/28/2018

!AFFIDAVIT
  SUPPLEMENTAL AFFIDAVITS IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS
  PARTICIPATION ACT Event Code: 5482
  Party: Defendant JONES, ALEX E
08/28/2018

!AFFIDAVIT
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMEND ED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION F OR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5482
  Party: Defendant JONES, ALEX E
08/29/2018

OBJECTIONS
  DEFENDANTS' OBJECTIONS TO PLAINTIFF'S EVIDENCE SUBMITTED IN RESPONSE TO DEFENDANTS' MOTION TO DISMISS
  UNDER THE TEXAS CI TIZENS PARTICIPATION ACT Event Code: 5156
  Party: Defendant JONES, ALEX E
08/29/2018

OTHER
  DEFENDANTS' FIRST SUPPLEMENT TO MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
  Code: 5415
  Party: Defendant JONES, ALEX E
08/29/2018

AFFIDAVIT
  AUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMEND ED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION F OR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5401
  Party: Defendant JONES, ALEX E
08/29/2018
             AMENDED/SUPPLEMENTED ANSWER
               DEFENDANTS' SECOND AMENDED ANSWER Event Code: 5152
               Party: Defendant JONES, ALEX E
08/30/2018

MOTION
 DEFENDANTS' SECOND SUPPLEMENT TO MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
 Code: 5265
 Party: Defendant JONES, ALEX E
08/30/2018

AFFIDAVIT
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5401
  Party: Defendant JONES, ALEX E
08/30/2018
             LETTER/EMAIL/CORR
               LETTER Event Code: 5414
               Party: Defendant JONES, ALEX E

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                                             Case No. D-1-GN-18-001835
08/30/2018
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR Event Code: 5414
08/31/2018

ORDER
  ORDER ON PLAINTIFFS' MOTION FOR EXPEDITED DISCOVERY IN AID O F PLAINTIFF'S RESPONSE TO DEFENDANTS' TCPA
  MOTION Event Code: 8225
09/11/2018

OTHER
  DEFENDANTS' REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF'S EVIDENCE Event Code: 5415
  Party: Defendant JONES, ALEX E
09/14/2018
             LETTER/EMAIL/CORR
               LETTER FROM MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
09/25/2018

OTHER
  DEFENDANTS' SECOND RENEWED REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF'S EVIDENCE
  Event Code: 5415
  Party: Defendant JONES, ALEX E
09/28/2018
             MOTION
              DEFENDANTS' MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER Event Code: 5265
              Party: Defendant JONES, ALEX E
10/01/2018
             MTN:MODIFY, REDUCE, ENFO,CONTE
               PLAINTIFF?S MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5261
10/02/2018
             NOTICE OF APPEAL
               DF-1 NOTICE OF APPEAL Event Code: 5553
               Party: Defendant JONES, ALEX E
10/02/2018
             LETTER/EMAIL/CORR
               LETTER TO JUDGE JENKINS Event Code: 5414
               Party: Defendant JONES, ALEX E
10/03/2018   ASM:CV MOTION FOR CONTEMPT
               Event Code: 635 Adjmt Amount: 80.00
10/03/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/10/2018
             DESIGNATION CLRKS/REPORTR REC
               DF-1 DESIGNATION FOR COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
10/10/2018
             DESIGNATION CLRKS/REPORTR REC
               DF-1 DESIGNATION FOR CLERK'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
10/10/2018   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 3192.00
               Party: Defendant JONES, ALEX E
10/10/2018
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2686 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E

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                                             Case No. D-1-GN-18-001835
10/11/2018
             CLERKS RECORD TRANSMITTAL
               FILED CLERK'S RECORD BY 3RE COA / HAND DELIVERED Event Code: 5606
10/11/2018

CLERKS RECORD TRANSMITTAL
  FILED BY 3RD COA EXHIBITS TO BE INCLUDED WITH CLERK'S RECORD /// HAND DELIVERED Event Code: 5606
10/15/2018
             LETTER/EMAIL/CORR
               LETTER TO COURT OPERATIONS OFFICER Event Code: 5414
               Party: Defendant JONES, ALEX E
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
11/06/2018
             SUPPL DESIGNATION CLERK RECORD
               DF-1 DESIGNATION FOR SUPPLEMENTAL CLERK'S RECORD Event Code: 5441
               Party: Defendant JONES, ALEX E
11/07/2018   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 11.00
               Party: Defendant JONES, ALEX E
11/07/2018
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2709 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E
12/07/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
12/07/2018
             MSF:2ND NOT BILL CLERKS RECORD
               Form Number B04-162 Issued by HELEN (103) MSF:2ND NOT BILL CLERKS RECOR Event Code: 103
               Party: Defendant JONES, ALEX E
12/10/2018
             CLERKS RECORD TRANSMITTAL
               TAMES RECORD SUBMISSION FOR SUPPLEMENTAL CLERK'S RECORD Event Code: 5606
12/11/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
06/26/2019
             PLEADING
               PLAINTIFF'S FIRST AMENDED PETITION Event Code: 5054
08/08/2019
             PLEADING
               PLAINTIFF'S THIRD AMENDED PETITION Event Code: 5054
08/30/2019
             ORD:JUDGMENT
               OPINION AND JUDGMENT FROM 3RD COA Event Code: 8216
09/30/2019

RESPONSE
  PLAINTIFF'S SUPPLEMENTAL RESPONSE TO DEFENDANTS' MOTION TO D ISMISS UNDER THE TEXAS CITIZENS
  PARTICIPATION ACT Event Code: 5153
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                                                 Case Summary
                                             Case No. D-1-GN-18-001835
10/01/2019
             ANSWER
               DEFENDANTS' STIPULATION AND RESPONSE TO PLAINTIFF'S THIRD AM ENDED PETITION Event Code: 5150
               Party: Defendant JONES, ALEX E
10/18/2019

ORDER
  ORDER ON PLAINTIFF'S MOTION FOR CONTEMPT UNDER RULE 215 AND DEFENDANTS' MOTION TO DISMISS UNDER THE
  TCPA Event Code: 8225
11/04/2019
             MTN:SUB & OR WITHDRAW COUNSEL
               MOTION FOR SUBSTITUTION OF COUNSEL Event Code: 5268
               Party: Defendant JONES, ALEX E
11/06/2019
             NTC:ATTORNEY/COUNSEL
               NOTICE OF APPEARANCE OF COUNSEL Event Code: 5550
               Party: Defendant JONES, ALEX E
11/07/2019
             NOTICE OF APPEAL
               DEFENDANTS' NOTICE OF INTERLOCUTORY APPEAL Event Code: 5553
               Party: Defendant JONES, ALEX E
11/07/2019
             DESIGNATION CLRKS/REPORTR REC
               DESIGNATION OF COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/07/2019
             DESIGNATION CLRKS/REPORTR REC
               DESIGNATION OF FILINGS FOR CLERK'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/08/2019   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 3303.00
               Party: Defendant JONES, ALEX E
11/08/2019
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2966 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E
11/12/2019
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
11/13/2019
             DESIGNATION CLRKS/REPORTR REC
               REQUEST FOR COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/18/2019
             LETTER/EMAIL/CORR
               RECORD SUBMISSION FOR CLERK'S RECORD CHAND DELIVERED TO 3RD COA Event Code: 5414
11/19/2019
             UNSIGNED/PROPOSED ORDER
               UNSIGNED ORDER Event Code: 5422
11/19/2019
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
12/04/2019
             ORD:MANDATE
               MANDATE FROM 3RD COA Event Code: 8218
03/25/2020
             ORD:JUDGMENT
               MEMORANDUM OPINION AND JUDGMENT FROM 3RD COA Event Code: 8216

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                                           Case No. D-1-GN-18-001835
06/26/2020
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR Event Code: 5414
07/06/2020
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR FROM THIRD COURT OF APPEALS Event Code: 5414
01/22/2021
             OTHER
               LETTER FROM THE SUPREME COURT OF TEXAS Event Code: 5415
02/19/2021
             OTHER
               LETTER TO SUPREME COURT OF TEXAS Event Code: 5415
02/23/2021
             OTHER
               LETTER TO SUPREME COURT OF TEXAS Event Code: 5415
02/24/2021
             OTHER
               LETTER FROM SUPREME COURT OF TEXAS Event Code: 5415
03/09/2021
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT LETTER FROM JUDGE LIVINGSTON TO COUNSEL Event Code: 5423
03/10/2021
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT BY PRESIDING JUDGE Event Code: 5423
03/11/2021
             OTHER
               LETTER TO 3RD COA Event Code: 5415
03/11/2021
             OTHER
               LETTER FROM JUDGE GUERRA GAMBLE Event Code: 5415
04/16/2021
             OTHER
               LETTER FROM 3RD COA Event Code: 5415
04/20/2021
             OTHER
               LETTER TO MR GAUDIN FROM JUDGE GUERRA GAMBLE Event Code: 5415
04/27/2021
             NOTICE
               NOTICE OF APPEARANCE ON BEHALF OF DEFENDANTS Event Code: 5554
               Party: Defendant JONES, ALEX E
04/27/2021

MOTION
 DEFENDANTS? UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL AND WITHDRAWAL OF COUNSEL Event Code: 5265
 Party: Defendant JONES, ALEX E
05/14/2021
             OTHER
               MEDIA REQUEST Event Code: 5415
06/02/2021
             OTHER
               LETTER FROM JUDGE GAMBLE Event Code: 5415
06/03/2021
             OTHER
               LETTER FROM JUDGE GUERRA GAMBLE Event Code: 5415
06/04/2021
             ORDER
               MANDATE FROM 3RD COA Event Code: 8225

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                                                 Case Summary
                                             Case No. D-1-GN-18-001835
06/15/2021

MOTION
 DEFENDANTS' AMENDED UNOPPOSED MOTION FOR SUBSTITUTION OF COU NSEL AND WITHDRAWAL OF COUNSEL Event
 Code: 5265
 Party: Defendant JONES, ALEX E
06/15/2021
             OTHER
               UNSIGNED ORDER/PROPOSED ORDER Event Code: 5415
               Party: Defendant JONES, ALEX E
06/21/2021

ORDER
  ORDER GRANTING DEFENDANTS? AMENDED UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL AND WITHDRAWAL
  OF COUNSEL Event Code: 8225
07/06/2021
             MOTION
              AGREED MOTION TO ENTER LEVEL 3 SCHEDULING ORDER Event Code: 5265
07/06/2021
             MOTION
              OPPOSED MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZ A Event Code: 5265
07/06/2021
             MOTION
              OPPOSED MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZ A Event Code: 5265
              Party: Defendant JONES, ALEX E
07/06/2021
             OTHER
               UNSIGNED ORDER/PROPOSED ORDER Event Code: 5415
               Party: Defendant JONES, ALEX E
07/06/2021
             MOTION
              PLAINTIFF?S SECOND MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5265
07/07/2021   ASM:CV MOTION FOR CONTEMPT
               Event Code: 635 Adjmt Amount: 80.00
07/07/2021

OTHER
  NON-PARTY AMOS PICTURES, LTD.?S REQUEST FOR ORDER TO ALLOW RECORDING AND BROADCASTING OF COURT
  PROCEEDINGS Event Code: 5415
07/12/2021
             ORDER
               ORDER OF CONSOLIDATION Event Code: 8225
07/12/2021
             ORDER
               LEVEL 3 SCHEDULING ORDER Event Code: 8225
07/19/2021
             ORDER
               ORDER ALLOWING RECORDING AND BROADCASTING OF COURT PROCEEDIN GS Event Code: 8225
07/23/2021
             ANSWER
               PLAINTIFFS? RESPONSE TO MOTION FOR PRO HAC VICE ADMISSION Event Code: 5150
07/30/2021
             ANSWER
               REPLY IN SUPPORT OF MOTION FOR PRO HAC VICE ADMISSION OF MAR C J. RANDAZZA Event Code: 5150
08/02/2021

ANSWER
  PLAINTIFFS? SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE REGARDING WITNESS TAMPERING IN THIS

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                                          Case No. D-1-GN-18-001835
  LAWSUIT Event Code: 5150
08/02/2021

ANSWER
  PLAINTIFFS? SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE REGARDING FALSE ACCUSATIONS AGAINST
  PLAINTIFFS? COUNSEL Event Code: 5150
08/09/2021

OTHER
  NEIL HESLINS 2ND SUPPLEMENTAL BRIEF ON DEFAULT SANCTIONS CONCERNING AUGUST 6 2021 ORDERS IN LAFFERTY
  Event Code: 5415
08/16/2021   Converted Event
08/17/2021
             MOTION
              SUPPLEMENT TO MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZA Event Code: 5265
08/18/2021
             NOTICE
               NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS Event Code: 5554
08/18/2021

ANSWER
  PLAINTIFFS? RESPONSE TO DEFENDANTS? SUPPLEMENT TO MOTION FOR PRO HAC VICE ADMISSION Event Code: 5150
08/19/2021
             MOTION
              PLAINTIFFS' MOTION FOR PROTECTION REGARDING IN CAMERA REVIEW Event Code: 5265
08/30/2021   Converted Event
08/30/2021   Converted Event
08/30/2021

ANSWER
  DEFENDANTS' RESPONSE TO PLAINTIFF'S SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFF'S MOTION FOR DEFAULT
  JUDGMENT Event Code: 5150
  Party: Defendant JONES, ALEX E
08/30/2021

ANSWER
  DEFENDANTS? RESPONSE TO PLAINTIFF?S SECOND MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5150
  Party: Defendant JONES, ALEX E
08/31/2021
             ORDER
               ORDER REGARDING PROTOCOL FOR IN CAMERA REVIEW Event Code: 8225
08/31/2021
             ORDER
               ORDER DENYING MOTION FOR PRO HAC VICE ADMISSION OF MARC J RA NDAZZA Event Code: 8225
09/01/2021
             NOTICE
               PLAINTIFFS' NOTICE OF FILING DECLARATION REGARDING ATTORNEYS ' FEES Event Code: 5554
09/08/2021

ANSWER
  DEFENDANTS? OBJECTIONS AND RESPONSE TO PLAINTIFFS? DECLARATION REGARDING ATTORNEYS? FEES Event Code:
  5150
  Party: Defendant JONES, ALEX E
09/10/2021

ANSWER
  PLAINTIFFS? RESPONSE TO DEFENDANTS? OBJECTIONS TO DECLARATIO N REGARDING ATTORNEYS? FEES Event Code:

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                                              Case Summary
                                          Case No. D-1-GN-18-001835
  5150
09/15/2021
             MOTION
              PLAINTIFFS? UNOPPOSED MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY Event Code: 5265
09/15/2021   MOTION
              PLAINTIFFS? UNOPPOSED MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY Event Code: 5265
09/15/2021

MOTION
 PLAINTIFF?S MOTION TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS AND MOTION FOR
 SANCTIONS Event Code: 5265
09/15/2021
             MOTION
              PLAINTIFFS? MOTION FOR PROTECTION REGARDING MARC RANDAZZA Event Code: 5265
09/15/2021
             MOTION
              PLAINTIFFS? MOTION FOR LEAVE TO SERVE NET WORTH DISCOVERY Event Code: 5265
09/15/2021
             NOTICE
               PLAINTIFFS? NOTICE REGARDING STATUS OF DISCOVERY Event Code: 5554
09/15/2021
             OTHER
               PLAINTIFF'S DESIGNATION OF EXPERTS Event Code: 5415
09/27/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT
               Party 2: Defendant JONES, ALEX E
10/05/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON ATTORNEYS FEES FOR PLAINTIFFS MOTIONS FOR SANCTIONS
10/07/2021
             RECEIPT OF EXHIBITS
               Event Code : 5411
10/11/2021

NOTICE
  NOTICE OF DELIVERY RE: CONTEMPORARY CARE PSYCHIATRIC CENTERS OF EXCELLENCE (MEDICAL/PSYCHIATRIC)
10/11/2021

NOTICE
  NOTICE OF DELIVERY RE: CONTEMPORARY CARE PSYCHIATRIC CENTERS OF EXCELLENCE (MEDICAL/PSYCHIATRIC)
10/22/2021

ANSWER
  DEFENDANTS RESPONSE TO PLAINTIFF S MOTION TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS
  AND MOTION FOR SANCTIONS
10/22/2021
             OTHER
               UNSIGNED ORDER
10/22/2021
             ANSWER
               DEFENDANTS RESPONSE TO PLAINTIFFS MOTION TO CONSOLIDATE
10/22/2021
             OTHER
               PROPOSED ORDER
10/25/2021
             ANSWER

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                                          District Court

                                                  Case Summary
                                       Case No. D-1-GN-18-001835
               DEFENDANTS RESPONSE TO PLAINTIFFS MOTION FOR LEAVE TO CONDUCT NET WORTH DISCOVERY
10/25/2021
             OTHER
               UNSIGNED PROPOSED ORDER
10/25/2021
             ANSWER
               DEFENDANTS RESPONSE TO PLAINTIFFS MOTION FOR PROTECTION REGARDING MARC RANDAZZA
10/25/2021
             OTHER
               UNSIGNED PROPOSED ORDER
10/27/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               AMENDED ORDER ON PLAINTIFFS MOTION FOR DEFAULT JUDGMENT AND 2ND MOTION FOR CONTEMPT
               Party 2: Defendant FREE SPEECH SYSTEMS LLC;
                        Defendant INFOWARS LLC;
                        Defendant JONES, ALEX E;
                        Defendant SHROYER, OWEN
11/05/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS MOTION FOR LEAVE TO SERVE NEW WORTH DISCOVERY
11/10/2021
             OTHER
               LETTER FROM 3RD COA
11/17/2021
             OTHER
               LETTER FROM 3RD COA
11/17/2021
             OTHER
               MEMORANDUM OPINION FROM 3RD COA
11/30/2021
             OTHER
               RULE 203 CERTIFICATION - MUELLER, CARL, F., M.D., MPH, M.S., F.A.P.A. (Medical/Psychiatric)
11/30/2021
             OTHER
               RULE 203 CERTIFICATION - MUELLER, CARL, F., M.D., MPH, M.S., F.A.P.A. (Billing)
11/30/2021
             OTHER
               RULE 203 CERTIFICATION - CROUCH, MICHAEL, W., LCSW (Medical/Psychiatric)
12/03/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY
12/13/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFF'S MOTION FOR PROTECTION REGARDING MARC RANDAZZA
12/13/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS' MOTION TO CONSOLIDATE
12/13/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS' MOTION TO CONSOLIDATE
12/13/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFF'S MOTION FOR PROTECTION REGARDING MARC RANDAZZA
12/27/2021
             MOTION
              PLAINTIFFS MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSITION
12/30/2021

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                                             Case Summary
                                     Case No. D-1-GN-18-001835
MOTION
 DEFENDANT, OWEN SHROYER S, MOTION FOR RECONSIDERATION OF THE COURT S ORDER GRANTING A LIABILITY
 DEFAULT JUDGMENTON PLAINTIFF S SECOND MOTION FOR CONTEMPT UNDER RULE 215
 Party: Defendant SHROYER, OWEN
12/30/2021
             OTHER
               EXHIBIT 1 TRANSCRIPT OF 8/31/21 HEARING
12/30/2021
             OTHER
               PROPOSED ORDER
12/30/2021

MOTION
 DEFENDANT, ALEX JONES S, MOTION FOR RECONSIDERATION OF THE COURT S ORDER GRANTING A LIABILITY DEFAULT
 JUDGMENT ON PLAINTIFF S SECOND MOTION FOR CONTEMPT UNDER RULE 215 AND MOTION FOR DEFAULT JUDGMENT
 Party: Defendant JONES, ALEX E
 Party 2: Attorney Reeves, Bradley Jordan
12/30/2021
             OTHER
               PROPOSED ORDER
12/31/2021

MOTION
 DEFENDANTS, FREE SPEECH SYSTEMS, LLC S AND INFOWARS, LLC S, MOTION FOR RECONSIDERATION OF THE COURT S
 ORDER GRANTING A LIABILITY DEFAULT JUDGMENT ON PLAINTIFF S SECOND MOTION FOR CONTEMPT UNDER RULE
 215 AND MOTION FOR DEFAULT JUDGMENT
 Party: Defendant FREE SPEECH SYSTEMS LLC;
        Defendant INFOWARS LLC
12/31/2021
             OTHER
               EXHIBIT 1-TRANSCRIPT OF AUGUST 31,2021 HEARING
12/31/2021
             OTHER
               EXHIBIT 2-DECLARATION OF ALEX JONES
12/31/2021
             OTHER
               PROPOSED ORDER
01/04/2022
             MOTION
              DEFENDANTS MOTION TO EXCLUDE PLAINTIFFS EXPERTS, FRED ZIPP AND BECCA LEWIS
              Party: Defendant FREE SPEECH SYSTEMS LLC;
                      Defendant INFOWARS LLC;
                      Defendant JONES, ALEX E;
                      Defendant SHROYER, OWEN
              Party 2: Attorney Reeves, Bradley Jordan
01/04/2022
             OTHER
               EXHIBIT 1 - EXHIBITS TO MOTION TO EXCLUDE PLAINTIFFS' EXPERTS
01/05/2022
             OTHER
               RULE 203 CERTIFICATE-CROUCH, MICHAEL, W., LCSW
01/05/2022

OTHER
  NON-PARTY MEDIA VERITE S UNOPPOSED REQUEST FOR ORDER TO ALLOW RECORDING AND BROADCASTING OF COURT
  PROCEEDINGS
01/05/2022
             OTHER
               LETTER TO JUDGE LIVINGSTON
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01/07/2022

ANSWER
  DEFENDANT, FREE SPEECH SYSTEMS, LLC S, RESPONSE IN OPPOSITION TO PLAINTIFFS MOTION FOR SANCTIONS
  REGARDING CORPORATE REPRESENTATIVE DEPOSITION
  Party: Defendant FREE SPEECH SYSTEMS LLC
  Party 2: Attorney Blott, Jacquelyn W
01/07/2022
             OTHER
               PROPOSED ORDER
01/11/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ALLOWING RECORDING AND BROADCASTING OF COURT PROCEEDINGS
01/11/2022
             NOTICE
               NOTICE OF APPEARANCE AND DESIGNATION OF LEAD COUNSEL
               Party: Defendant FREE SPEECH SYSTEMS LLC;
                      Defendant INFOWARS LLC;
                      Defendant JONES, ALEX E
01/12/2022
             MOTION
              DEFENDANTS MOTION FOR CONTEMPT AND SANCTIONS
              Party: Defendant JONES, ALEX E
01/24/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER OF CONSOLIDATION
01/24/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS' MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSTION
02/01/2022
             MOTION
              PLAINTIFFS' MOTION FOR SANCTIONS UNDER RULE 215.4 RELATING TO REQUESTS FOR ADMISSION
              Party 2: Attorney Bankston, Mark DuQuesnay
02/08/2022
             NOTICE
               NOTICE OF FILING OF DECLARATION ON ATTORNEY S FEES
02/08/2022
             NOTICE
               NOTICE OF FILING OF DECLARATION ON ATTORNEY'S FEES
02/09/2022
             NOTICE
               NOTICE OF DEPOSITION OF CORPORATE REPRESENTATIVE
02/10/2022

ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
  ORDER ON MOTIONS TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS AND MOTIONS FOR SANCTIONS
02/17/2022
             MOTION
              UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL
              Party: Defendant FREE SPEECH SYSTEMS LLC;
                     Defendant INFOWARS LLC;
                     Defendant JONES, ALEX E;
                     Defendant SHROYER, OWEN
02/17/2022
             OTHER
               PROPOSED ORDER
02/22/2022
             MOTION

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                                                Case No. D-1-GN-18-001835
               MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE
               Party: Defendant FREE SPEECH SYSTEMS LLC;
                       Defendant INFOWARS LLC;
                       Defendant JONES, ALEX E;
                       Defendant SHROYER, OWEN
               Party 2: Attorney Blott, Jacquelyn W
02/22/2022
             OTHER
               PROPOSED ORDER
02/25/2022

ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
  ORDER ON ATTORNEYS FEES FOR MOTIONS TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS AND
  MOTIONS FOR SANCTIONS
02/25/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL
               Party: Defendant JONES, ALEX E
02/25/2022
             NOTICE
               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
02/25/2022
             NOTICE
               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
               Party 2: Attorney Moshenberg, Avishay
03/01/2022
             ANSWER
               PLAINTIFFS RESPONSE TO NORMAN PATTIS MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE
               Party 2: Attorney Moshenberg, Avishay
03/01/2022
             ANSWER
               PLAINTIFFS RESPONSE TO MOTION FOR CONTEMPT AND SANCTIONS
               Party 2: Attorney Moshenberg, Avishay
03/04/2022
             MOTION
              PLAINTIFFS MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSITION
03/04/2022
             MOTION
              PLAINTIFFS MOTION FOR LEAVE TO DESIGNATE EXPERT ON NET WORTH
03/08/2022
             NOTICE
               NOTICE OF APPEARANCE
               Party: Defendant FREE SPEECH SYSTEMS LLC;
                       Defendant INFOWARS LLC;
                       Defendant JONES, ALEX E
               Party 2: Attorney REYNAL, FEDERICO ANDINO
03/08/2022
             NOTICE
               AMENDED NOTICE OF APPEARANCE
               Party: Defendant FREE SPEECH SYSTEMS LLC;
                       Defendant INFOWARS LLC;
                       Defendant JONES, ALEX E
               Party 2: Attorney REYNAL, FEDERICO ANDINO
03/08/2022
             ANSWER
               DEFENDANTS' RESPONSE TO PLAINTIFS' MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSITION
03/08/2022
             OTHER
               EXHIBIT A TO DEFENDANTS' RESPONSE TO MOTION FOR SANCTIONS (Corp Rep)
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                                            Case No. D-1-GN-18-001835
03/08/2022
             OTHER
               EXHIBIT B TO DEFENDANTS' RESPONSE TO PLAINTIFS' MOTION FOR SANCTIONS (Corp. Rep)
03/08/2022

ANSWER
  DEFENDANT'S RESPONSE TO PLAINTIF'S MOTION FOR SANCTIONS UNDER RULE 215.4 RELTING TO REQUESTS FOR
  ADMISSIONS
  Party: Defendant SHROYER, OWEN
  Party 2: Attorney Blott, Jacquelyn W
03/15/2022
             OTHER
               REQUEST FOR ORDER TO ALLOW MEDIA COVERAGE WITH CONSENT OF PARTIES OR WITNESSES
03/15/2022   OTHER
               REQUEST FOR ORDER TO ALLOW MEDIA COVERAGE WITH CONSENT OF PARTIES OR WITNESSES
03/25/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ALLOWING RECORDING AND BROADCASTING OF COURT PROCEEDINGS
               Party: Defendant JONES, ALEX E
03/25/2022
             MOTION
              PLAINTIFFS MOTION FOR LEAVE TO AMEND
              Party 2: Attorney Bankston, Mark DuQuesnay
03/28/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               AGREED ORDER ON PLAINTIFFS MOTION FOR LEAVE TO DESIGNATE EXPERT
               Party: Defendant JONES, ALEX E
03/28/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER DENYING NORMAN PATTIS MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE
               Party: Defendant JONES, ALEX E
03/30/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS MOTION FOR LEAVE TO AMEND
03/30/2022
             OTHER
               PLAINTIFFS' THIRD SUPPLEMENTAL DESIGNATION OF EXPERTS
03/31/2022
             NOTICE
               NOTICE OF APPEARANCE
               Party: Defendant SHROYER, OWEN
               Party 2: Attorney MAGLIOLO, JOSEPH C Jr.
03/31/2022
             NOTICE
               AMENDED NOTICE OF APPEARANCE
               Party: Defendant SHROYER, OWEN
04/01/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFFS MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSITION
04/01/2022
             OTHER
               REQUEST FOR ORDER TO ALLOW MEDIA COVERAGE OF PARTIES OR WITNESSES
04/04/2022
             MOTION
              OPPOSED MOTION FOR WITHDRAWAL OF COUNSEL
              Party: Defendant INFOWARS LLC;
                     Defendant JONES, ALEX E


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                                              Case Summary
                                         Case No. D-1-GN-18-001835
04/04/2022
             OTHER
               PROPOSED ORDER
04/04/2022
             MOTION
              PLAINTIFFS MOTION FOR SANCTIONS ON WITHHELD TEXT MESSAGES
04/05/2022

ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
  ORDER ON PLAINTIFF'S MOTION FOR SANCTIONS UNDER RULE 215.4 RELATING TO REQUESTS FOR ADMISSION
04/05/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER GRANTING MOTION FOR WITHDRAWAL OF COUNSEL
               Party: Defendant FREE SPEECH SYSTEMS LLC;
                      Defendant INFOWARS LLC;
                      Defendant JONES, ALEX E;
                      Defendant SHROYER, OWEN
04/06/2022
             OTHER
               RULE 11 AGREEMENT
04/08/2022
             MOTION
              DEFENDANTS' MOTION IN LIMINE
              Party: Defendant FREE SPEECH SYSTEMS LLC;
                      Defendant INFOWARS LLC;
                      Defendant JONES, ALEX E;
                      Defendant SHROYER, OWEN
              Party 2: Attorney MAGLIOLO, JOSEPH C Jr.;
                       Attorney REYNAL, FEDERICO ANDINO
04/08/2022
             NOTICE
               NOTICE OF FILING OF DECLARATION ON ATTORNEY S FEES
04/11/2022
             OTHER
               SUBPOENA DUCES TECUM
04/11/2022
             ANSWER
               DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION FOR SANCTIONS
               Party: Defendant SHROYER, OWEN
               Party 2: Attorney MAGLIOLO, JOSEPH C Jr.
04/11/2022
             NOTICE
               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
               Party 2: Attorney Bankston, Mark DuQuesnay
04/11/2022
             NOTICE
               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
               Party 2: Attorney Bankston, Mark DuQuesnay
04/12/2022
             OTHER
               JURY DOCKET CALL LETTER
04/13/2022
             OTHER
               PLAINTIFFS DEPOSITION DESIGNATIONS
04/13/2022
             OTHER
               PLAINTIFFS EXHIBIT LIST
04/13/2022
             MOTION
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                                              Case No. D-1-GN-18-001835
               PLAINTIFFS MOTIONS IN LIMINE
               Party 2: Attorney Bankston, Mark DuQuesnay
04/13/2022
             ANSWER
               PLAINTIFFS RESPONSE TO DEFENDANTS MOTION TO EXCLUDE PLAINTIFFS EXPERT WITNESSES
               Party 2: Attorney Bankston, Mark DuQuesnay
04/13/2022
             ANSWER
               PLAINTIFFS OBJECTIONS TO DEFENDANTS EXHIBIT LIST
               Party 2: Attorney Bankston, Mark DuQuesnay
04/13/2022
             OTHER
               PLAINTIFFS WITNESS LIST




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